From: 6308927640 Page: 1/3 Date: 1/11/2011 2:11:20 PM

Case 09-20019 Doc 48-2 Filed 01/19/11 Entered 01/19/11 13:31:38 Desc Document
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Case 09-20019 Doc 48-2 Filed 01/19/11 Entered 01/19/11 13:31:38 Desc Document
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Case 09-20019 Doc 48-2 Filed 01/19/11 Entered 01/19/11 13:31:38 Desc Document
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